C_ase 2:11-cv-00051-.]I\/|I\/| Document 49-2 Filed 10/24/11 Page 1 of 6

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properly appealed tothe ADC l}eputy Din:`cwr level

3. It is my undersmmdi_ng that this-42 U.S.C. »§ I!;%l§£l acl;lan. was,originally filed pm sue on
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DEFENDANT'S
EXH|B|T

 

Case 2:11-cv-00051-.]I\/|I\/| Document 49-2 Filed 10/24/11 Page 2 of 6

Acnor.cling;ly', inmates must`exhzi-.ust their a,cbniri_;ist_xmivc ic:':mdiaa:_ as to :.=L'll. dei%ndauw at ali lewis uiz`
the ;grii:vmcc-pmcodui_e before filing a Section 19&3. lawuit

7-. Additi£‘i\ial¥y, the Bnmat_e Grievanc:¢ Prc»:eclii».'c- dz)<,~.i mut pennit inmates tci film
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'Ré»c>oi'!d fai" i"nmate. Ch;ai'_hpion.) 'I`h¢: giiwa_n_c,e appeal minimis milam than inmate J'ei-ry dhamgpin\n ims
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14. 111 view ofthc fact that inmate Champion iiiiii:cl tci lm:.|l.\d~¢ amy allegations _re ;;¢i.rqii.,u§;
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Mdi% or EAM~l(l-'MB`ZO,.Q!? i'r.: any subsequent g.):iwanw.s,~inma_w ~¢$hzmmplon has failed to en;lwui;i
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l declare under penalty i:)fp\cijur-y 't]mt;thl: l"nrcgc')ing is`.‘m.u: md li:dxrr¢cl.

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Case 2

 

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CONFIDENTN FoR oFi=icE use 0NLY

 

 

 

 

 

UNIT LEVEL G EVANCE FORM (Aea¢hmen¢ I) _ _O
Unit/Center , A 145 L/ DEC 1 5 2010 GRv. #EBMD §£ Q@
Date Recelved:l ¢;2' is ' iO

Name/:£ gaf , aka ,-; ¢;&,'M _EMW .
wm GRV.Code #: :zQ.§
ADC#‘ZZ f ff Brks #'4 Z. ng Job Assignment£¢’ ,g£gé
/.z"-.é-,,_¢¢. (Date) sTEP 0st informal resolution
ll - 2~ O}) (Date) STEP 'I`WO: Forrnal Grievance (All complaints/concerns should first be handled informally.)

If the issue was not resolved during Step One, state why: ]'_’ff§ la §§ §§ 32£& _
MM aim n ~r n/,e//z€' ne 7' gewin 022/se

/»/v¢.' , cl (Date) EM_ERGENCY GRIEVANCE (1{1'1 emergency situation is one in which you may be subject to
a substantial risk of physical harm; emergency grievances are not for ordinary problems that are not of a serious
nature) If~ you marked yes, give this completed form to thodesignpted problem-solving staff, who will sign the

attached emergency receipt If an )}Em:rr,gency, state why: ZH '£ f’°eézég¢g 21 f {‘;2¢2; fagg

 

 

 

 

 

 

/4//$’.(7)¢‘/
Is this Grievance concerning Medical or Mental Health Services? If yes circle one: medical or,»mental
BRIEFLY state your one complaint/concern and be specific as to the complaint, d__a__te, place, name of personnel
involved and how y_gwere affected (Please Print): , _»' , l »' ; . f s _ g
'.l 5 .¢" 1'1" " ».“_.~' .' . v f‘.rr .'!.

‘~r',_ f ll 1"__ nl _»-i Jk;//[/? ?_CP C:`q d

   
 

   

 

   

T’/!£ 0!/1-‘.:'£’;¥ name .&’/F”¢’“ /1? -'

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131 v 0
ignature Date

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THIS SECTION TO BE FIL_L_ED OUT BY STAFF ONLY

 

 

 

 
 
     

 

 

 

 

This form as received on v - v ( ate), end determined to be Step One andi'or an Emergency Grievance
or No). ’Ihis form was forwarded to medical or mental heelth? ' (Yes or No). lf yes, name
of the person in that department receiving this form: HEG_§N_EDDEW:
'"{:H - 6{_1 r/'¢r/l'/\.. 'r.»/';`/ :~E;Z‘.</-# ri " r," ~ _v"»\
mm sran Nnmi=. n>nosl;sm' sol-vsn} ID Number Staff S}g'nature `\ Date Received
Describe action taken to resolve complaint, including dates: _\M 2[1'\1

 

 

an |E]' n IlpE §uPER\HSEJ-R
lLD\NG

 

 

 

 

 

 

k 1111
_S_WH`_S_LMS Returned lnmgtg$iwgme & Date Received
This form was received on [Z -éQ A[date), pursuant to ep Tvr"o. Is it an Emergency?___ (Yes or__l®_).

  
  
  

Staff Who Received Step Two Grievance: _ Date: .. - ' 0
Action Taken: - » - i to Grievanee _® `1cer!Wardeni'Other) ._. - _ 0
If forwarded, provide name of ~__ _ - - ' : [§\FL$ M Date: mg §§ .: §§

ciprs; BLUE-Grievance offices omGINAL-Given back

 

   
  

 

 

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Case 2:11-cv-00051-Jl\/||\/| -JTR Document 20%&?§§#}"€0 Page 10 of 12
.UNIT\LEVEL GRIEVANCE FORM (Attachmem 1) UEC 22 2070 FOR OFHCE USEONLY

Unit/Center £M 15 // Eas¢ Q Q_(Igj
... Wnsas GRV #M 20
Nanrlre MTM m Date Rcceived: l§§ 2 ‘;_f{ fo

r.
ADC# 2 ' 59 Brks 7»0 di Job Assignment 22nd § GRV Code#: 36 23

/LZ___ a?o-.-o/o (Date) STEP ONE: lnformalResolution

/a?~ 2/ _~_O/O' (Date) STEP TWO: Formal Grievance (All complaints/concerns should first be handled informally.)
lf` the lssue was not resolved during Step One state why: T/'//F 1"§"§/¢/¢_7- }?/F'¢?

Ml_l"amaaz{/zi n f M¢/.! mo ~r ¢S’E)~z//¢€'
(Date) EMERGENCY RIEVANCE (An emergency situation is one in which you may be subject to

a substantial risk of physical harm; emergency grievances are not for ordinary problems that are not of a serious
nature) If you marked yes, give this completed form to the designated problem-solving staff who will sign the
attached emergency receipt. lf` an Emergency, state why:

 

 

 

 

 

 

 

 

ls this Grievance concerning Medical or Mental Health Services? lfyes, circle one.l medical or mental
BRIEFLY state your one complaint/concem and be specific as to the complaint, _dal, place, name of` personnel
involved and how y_g uwere affected. (Please Print):

70 165 /~r 119/ea mem w.¢~mf dole eha mae /?»r’a’ women c hayaemy
P?oe.)? A?)?D 63 71 A/i'.».'v A’/F.¢.¢' 01. s'c’.e.;-m par-rf AFA'M psr ing .<5’)’

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MnmaE/éiature tNMATE GR_¢_E\_/.»»_e\\cE SUPEHV!SDR@
Ifyou e harmed&'lrrea!ened because of poor MQMMEPSS, repor{ it immediately to the Warden or designee

THIS SECTION TO BE FILLE[} OU'I` BY STAFF ONLY

 

 

 

 

 

 

 

This form was received on 1.1" (date), and determined to be Step One and/or an Em ency Grievance
e or No). This form was forwarded to medical or mental health? (Yes or . lf yes, name
of the person in that department receiving this form: ,` Date
T§<~F @MM/rv' 2533/41th a ' n.~‘Ze -&'
PmNT sTAFF NAMF irsolsuem sol v1: R) [D Number Staft"f(ignaturel Date Received
Describe action taken 10 resolve complaint including dates: u¢j.'i' leMMMLL_
4 E v 661 f Z" Zv° °'Z,¢l' 0
1~.,~§[§_=_ 46 M -.;:~¢../naers“' T£('s~ Pbo¢u\: Arm' RBP~R_-\'-n +¢ :t-I~¢~WI'GL vf¥'fd`££
gregg give AAAM£-¢_»Aczn 1--‘1 sacF¢L cent co-¢B~ ‘
sir '¥<m,,~.m rzrz¢~z¢zb / »
wff` S`pnature & Date Returned nm Sinnatur & Date Received

This form was received on jj’ g j ./f£] (date), pursu -t tovSte Two Is it an Emergency?____ (Yes or@.
Staff Who Received Step Two Grievance: Date:

Action Taken: (Fcrwarded o Grievance 0 ficeerarden/Other) Date: /

If forwarded, provide name of perso 1 |/ll 5 f fl Q, Date: ¢z, ‘Z/ jj

DISTRIBUTION: YELLOW & P ml+ 3 -&'j , BLUE-Grievance Offlcer; ORIGINAL-Given back

   
  

 

 

 

 

